904 F.2d 699Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Robert J. CASTLEBERRY, Petitioner-Appellant,v.Dr. ROSEFIELD;  Attorney General of North Carolina,Respondents-Appellees.
    No. 90-7295.
    United States Court of Appeals, Fourth Circuit.
    Submitted:  May 7, 1990.Decided:  May 22, 1990.
    
      Appeal from the United States District Court for the Middle District of North Carolina, at Durham.  Richard C. Erwin, Chief District Judge.  (C/A No. 89-612-D).
      Robert J. Castleberry, appellant pro se.
      Richard Norwood League, Office of the Attorney General of North Carolina, Raleigh, N.C., for appellees.
      M.D.N.C.
      DISMISSED.
      Before ERVIN, Chief Judge, and CHAPMAN and WILKINS, Circuit Judges.
      PER CURIAM:
    
    
      1
      Robert J. Castleberry seeks to appeal the district court's order refusing habeas corpus relief pursuant to 28 U.S.C. Sec. 2254.  Our review of the record and the district court's opinion accepting the recommendation of the magistrate discloses that this appeal is without merit.*   Accordingly, we deny a certificate of probable cause to appeal and dismiss the appeal on the reasoning of the district court.  Castleberry v. Rosefield, C/A No. 89-612-D (M.D.N.C. Feb. 20, 1990).  We deny the motion for appointment of counsel and dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    DISMISSED
    
      
        *
         Castleberry failed to show a particularized need for the transcript of his second sentencing hearing to collaterally attack his state conviction.   Jones v. Superintendent, Virginia State Farm, 460 F.2d 150 (4th Cir.1972), cert. denied, 410 U.S. 944 (1973)
      
    
    